Case 4:20-cv-00536 Document 1-3 Filed on 02/17/20 in TXSD Page 1 of 39
     Case 4:20-cv-00536 Document 1-3 Filed on 02/17/20 in TXSD Page 2 of 39                       11/11/2019 9:15 PM
                                                                        Marilyn Burgess - District Clerk Harris County
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                                                                                                     By: Nelson Cuero
                                                                                          Filed: 11/11/2019 9:15 PM

                                 NO: ___________________

BASIT MIAN, on behalf of himself and         )   IN THE DISTRICT COURT OF
all others similarly situated,               )
                                             )
       Plaintiff,                            )
                                             )
v.                                           )   HARRIS COUNTY, TEXAS
                                             )
PROGRESSIVE COUNTY MUTUAL                    )
INSURANCE COMPANY, J.D. POWER                )    JUDICIAL DISTRICT ___________
and MITCHELL                                 )
INTERNATIONAL, INC.,                         )
                                             )
       Defendants.                           )          Jury Trial Demanded


                            PLAINTIFF’S ORIGINAL PETITION


       Plaintiff, Basit Mian, on behalf of himself and all others similarly situated

(“Plaintiff”), complains of Defendants, Progressive County Mutual Insurance Company

(“Progressive”), J.D. Power (“J.D. Power”), and Mitchell International, Inc. (“Mitchell”)

(collectively, “Defendants”), and alleges:

                                       DISCOVERY

       1.     The parties should conduct discovery under Level 2, Rule 190.3 of the Texas

Rules of Civil Procedure.


                        PARTIES, JURISDICTION AND VENUE

       3.     Plaintiff, Basit Mian, is an adult citizen residing in Houston, Harris

County, Texas.

       4.     Plaintiff brings this action in his individual capacity and on behalf of the

class of all other persons similarly situated in the state of Texas (the “Texas Class”).
    Case 4:20-cv-00536 Document 1-3 Filed on 02/17/20 in TXSD Page 3 of 39



       5.     Defendant Progressive is an automobile insurer which is licensed to do business

in Texas and issues insurance policies in Harris County, Texas. Defendant Progressive is

organized under the laws of the state of Texas with its principal place of business in Texas.

Progressive issued an automobile liability insurance, including coverage for first-party total

loss claims, to Plaintiff Mian, which was in force on the date of the total loss at issue.

Defendant Progressive may be served with process by serving its registered agent for

service of process, CT Corporation, 1999 Bryan Street, Suite 900, Dallas, TX 75201.

       6.     Defendant J.D. Power is incorporated under the laws of the state of

Delaware and has its principal place of business in Westlake, California.          Defendant

J.D. Power may be served with process by serving its registered agent, CSC-Lawyers

Incorporating Service, 211 E. 7th Street, Suite 620, Austin, TX 78701-3218.

       7.     Defendant Mitchell is incorporated under the laws of the state of Delaware

and has its principal place of business in San Diego, California. Defendant Mitchell may

be served with process by serving its registered agent, CT Corporation System, 1999

Bryan St., Ste 900, Dallas, TX 75201-3136.

       8.     The amount in controversy exceeds the minimum jurisdictional limits of

this Court. This Court has jurisdiction under Tex. Civ. Prac. & Rem. Code § 37.003.

Venue is proper in this Court because Harris County is the county in which the Plaintiff

resides and is the county in which the events giving rise to the claim occurred.




                                              2
    Case 4:20-cv-00536 Document 1-3 Filed on 02/17/20 in TXSD Page 4 of 39



                                    NATURE OF THE ACTION

       9.     This Texas class action arises from Defendants' systemic and intentionally

wrongful and improper scheme to under-value total losses involving the vehicles of

Progressive first-party insureds.

       10.    Through its auto insurance policy contracts, Progressive has agreed to provide,

inter alia, collision coverage for losses resulting from damage to insureds’ vehicles (the

“Progressive Policy/Policies”).     The Progressive Policy provides for adjustment and

settlement of first-party total loss claims on the basis of actual cash value or replacement

(“Actual Cash Value”).

       11.    Progressive has spent many tens of millions of dollars to market itself as a

fair and honest insurance company. However, Progressive and its co-conspirators, J.D.

Power and Mitchell, are not fair and honest in providing valuations to Progressive

insureds whose vehicles have been involved in an accident and are determined to be a

total loss.

       12.    As alleged hereafter, J.D. Power and Mitchell formed a joint partnership to

provide total loss valuation reports to insurers such as Progressive. J.D. Power and Mitchell

call these reports Work Center Total Loss Vehicle Valuation Reports (“WCTL Reports”).

       13.    Typically, insurers contract with Mitchell to receive the WCTL Reports

which are prepared by this joint partnership.

       14.    Progressive has contracted with Mitchell to receive such WCTL Reports.

Through this partnership and Mitchell's agreement with Progressive, Progressive, Mitchell,

and J.D. Power have engaged in a scheme to artificially deflate the value of first-party total


                                                3
     Case 4:20-cv-00536 Document 1-3 Filed on 02/17/20 in TXSD Page 5 of 39



loss claims in order to pay insureds substantially less than the actual pre-loss cash value of

their total loss vehicles.

        15.     Plaintiff and the putative Texas Class are Progressive Policy holders whose

vehicles were determined by Progressive to be a total loss and who have been subject to the

Progressive, J.D. Power, and Mitchell scheme to artificially deflate the value of, and under-pay,

their total loss claims.

        16.     When Progressive entered into the Policies at issue in this case with Plaintiff and

the Texas Class members, Progressive knew, but failed to disclose to Plaintiff and the Texas

Class, that the WCTL Reports would wrongfully under-value their total loss vehicles. Through

this scheme, Progressive, J.D. Power, and Mitchell have engaged in unlawful conduct in

violation of Texas law, common law and their respective contractual obligations, which have

uniformly damaged Progressive insureds in Texas in a readily ascertainable dollar amount.

                             GENERAL FACTUAL ALLEGATIONS

        A.      Plaintiff’s Progressive Policy and Plaintiff’s Total Loss

        17.     Plaintiff Basit Mian was the owner of a 2012 Mazda CX-9 Grand Touring FWD

(the “Vehicle”).

        18.     Progressive issued its Automobile Policy No. 62455056 (the “Mian Policy”) to

Plaintiff which insured the Vehicle. The Mian Policy was in effect in April 2019.              The

Declarations page of the Mian Policy is attached as Exhibit A.

        19.     Following an automobile accident on April 25, 2019, Progressive determined

that Plaintiff’s Vehicle was a total loss.




                                                 4
    Case 4:20-cv-00536 Document 1-3 Filed on 02/17/20 in TXSD Page 6 of 39



       20.     The terms of Progressive’s Policy issued to Plaintiff are not individualized,

unique or specific to Mr. Mian. The Mian Policy is the same standard form issued by Progressive

to insureds throughout the state of Texas.

       21.     The Mian Policy required Progressive to pay the “actual cash value” of the total

loss to the Vehicle under Section IV “Damage to Vehicle,” including “Limits of Liability.”

       22.     J.D. Power and Mitchell provided Progressive with a WCTL Report for

Plaintiff's Vehicle on or about May 14, 2019 (“Plaintiff’s Report”). A true and correct copy of

Plaintiff’s Report is attached and incorporated herein as Exhibit B.

       23.     As reflected by Plaintiff’s Report, the WCTL Reports first calculate a

purported base vehicle value by averaging the adjusted prices of the comparable vehicles

(“Base Value”). The WCTL Report then makes purported adjustments for the “condition”

of the vehicle (“Condition Adjustment”), prior damage, aftermarket parts, and refurbishment

which are deducted from Base Value to calculate the “Market Value,” as reflected in the

WCTL Reports. The great majority of WCTL Reports include a downward Condition

Adjustment.

       24.     Plaintiff’s Report purports to state a Base Value for his Vehicle in the amount of

$10,437.84 and a Market Value of $8,364.60 after a negative or downward Condition

Adjustment in the amount of $2,073.24 (before applying his deductible in the amount of

$499.00). The Market Value in Plaintiff’s Report wrongly deprived Plaintiff of $2,073.24, based

upon the downward Condition Adjustment, which is statistically invalid.

       25.     In addition, the Base Value from which the Condition Adjustment amount was

deducted is also based on statistically invalid WCTL methodology, as explained in Section B


                                                 5
    Case 4:20-cv-00536 Document 1-3 Filed on 02/17/20 in TXSD Page 7 of 39



below.         Accordingly, the Actual Cash Value of Plaintiff’s Vehicle was substantially and

improperly understated as a result of the statistically invalid WCTL Report.

         26.      Plaintiff’s Report failed to properly value Plaintiff’s Vehicle and did not

properly pay the Actual Cash Value which Progressive owed to Plaintiff.

         27.      As a direct result of statistically invalid WCTL Reports, Progressive has

intentionally and materially underpaid the total loss claims of Plaintiff and the Texas Class

members.

         B.        The Mitchell and J.D. Power Partnership and WCTL Methodology

         28.      Mitchell and J.D. Power entered into a joint partnership to provide WCTL

Reports to insurers, including Progressive.

         29.      The partnership between Mitchell and J.D. Power is described (the “WCTL

Methodology”) in each of the WCTL Reports as follows:

         WorkCenter Total Loss was designed and built in conjunction with J.D.
         Power’s experts in data analysis and vehicle pricing and a highly trusted
         name among consumers. With years of experience in vehicle pricing, J.D.
         Power is a credible, third-party expert whose name provides consumer
         recognition and confidence. WCTL provides a consistent methodology
         across all vehicles and it includes valid comparable vehicles that most
         closely resemble the totaled vehicle and are similar to the vehicles a
         consumer would find in their own research.

Exhibit B at 9.

         30.      Additionally, WCTL Reports specifically bear the names of both J.D.

Power and Mitchell on the first page of each W C T L Report.

         31.      Each WCTL Report contains a “Methodology Explanation” which is

located on the last page of each WCTL Report. See Exhibit B, Plaintiff’s Report at 9.



                                                 6
    Case 4:20-cv-00536 Document 1-3 Filed on 02/17/20 in TXSD Page 8 of 39



       32.    The WCTL Methodology assigns actual cash values for total loss vehicles

in an amount that is significantly lower than those assigned by published and publicly

available valuation models, such as NADA, Black Book, Red Book, and Kelly

Bluebook.

       33.    The WCTL Methodology is explained as a five-step process used to "produce

accurate and easy-to -understand vehicle valuations."

       34.    This five-step process includes:

              Step 1 - Locate Comparable Vehicles

              Step 2 - Adjust Comparable Vehicles

              Step 3 - Calculate Base Vehicle Value

              Step 4 - Calculate Loss Vehicle Adjustments

              Step 5 - Calculate the Base Value

Exhibit B at 9 (the “WCTL Valuation”).

       35.    None of these steps, relating to comparable vehicles, making vehicle

adjustments, and calculating base values, are based on statistically valid methodologies,

algorithms, values or computations. Each step is, in fact, statistically invalid and does

not result in a proper valuation for total loss vehicles in Texas.

       36.    Specifically, the WCTL Methodology for identifying comparable vehicles

and for making purported "equating" adjustments for equipment, options and mileage is

statistically invalid. (See Steps 1 and 2 which result in “Base Vehicle Value” at Step 3).

       37.    The Market Values in the WCTL Valuations are known by Progressive to be

regularly, materially, and substantially lower than the values of actual comparable vehicles


                                              7
    Case 4:20-cv-00536 Document 1-3 Filed on 02/17/20 in TXSD Page 9 of 39



and are used to deny insureds, such as Plaintiff and the Texas Class, a proper cash value

amount sufficient for its insureds to purchase a comparable replacement vehicle.

       38.     The WCTL Methodology for making downward Condition Adjustments,

which is a major aspect of the fraudulent scheme to under-value total losses, and the other

“Vehicle Adjustments” are statistically invalid. (See Step 4 above).

       39.     Specifically, the dollar amounts assigned to Condition Adjustments in the

WCTL Reports are wholly arbitrary and are not based on any statistical, objective,

valid, or verifiable data. Accordingly, all such downward Condition Adjustments are

improper in all respects and should be disregarded in properly valuing a Progressive

insured's total loss vehicle.

       40.     The intended and wrongful result of the five steps and sub-steps included in

the Progressive Policy is that total loss vehicles are undervalued, and Progressive

insureds' total loss claims are underpaid. This underpayment is a detriment to

Progressive insureds, including Plaintiff and the Texas Class, and a benefit to

Defendants. Rather than paying Plaintiff and the Texas Class members the proper sums

of money for their total loss vehicles, Progressive has retained significant funds in the

millions of dollars by underpaying Plaintiff and the Texas Class members for the value

of their total loss vehicles.

       41.     The WCTL Reports routinely provide Progressive total loss vehicle values

which are not intended to yield an appropriate Actual Cash Value for Plaintiff’s Vehicle or

comparable vehicles, but are calculated to yield a substantially lesser and improper amount.




                                              8
    Case 4:20-cv-00536 Document 1-3 Filed on 02/17/20 in TXSD Page 10 of 39



       42.        The majority of Progressive's first-party total loss claims in Texas are settled

on the basis of the WCTL Valuations.

             C.      Progressive's Use of the Unlawful WCTL Valuations

       43.        Progressive contracted with Mitchell to receive the WCTL Reports prepared by

the J.D. Power/Mitchell partnership.

       44.        Mitchell provided Progressive with WCTL Reports for the total loss vehicles of

the Plaintiff and the Texas Class.

       45.        Progressive has a regular practice of knowingly and falsely informing insureds

that the WCTL Reports properly establish the Actual Cash Value of their vehicles and provide

the basis for proper payment of total loss claims under Progressive Policies in Texas.

       46.        Progressive has the regular and systemic claims practice of demanding that

insureds settle total loss claims based upon the WCTL Reports and refusing to negotiate the

Market Values in the WCTL Reports with the insureds.

       47.        Progressive has actual knowledge that the WCTL Methodology is statistically

invalid and unlawful.

       48.        Progressive has suppressed and concealed material facts relating to WCTL’s

market valuation system and its pre-existing scheme and conspiracy with J.D. Power and

Mitchell to intentionally undervalue total loss claims, including those of Plaintiff and the Texas

Class. Specifically, Progressive concealed from Plaintiff that its purported total loss valuations

were based upon the statistically invalid and unlawful WCTL Methodology.

       49.        Plaintiff and the Texas Class members have been damaged by Progressive’s

systemic underpayment of total loss claims. This underpayment results from Progressive’s


                                                  9
    Case 4:20-cv-00536 Document 1-3 Filed on 02/17/20 in TXSD Page 11 of 39



intentional failure to fairly and properly determine the Actual Cash Value and its knowingly

improper downward Condition Adjustments.

         50.        Progressive has knowingly and intentionally acted in bad faith towards its

Texas insureds in regularly and routinely utilizing WCTL Reports to adjust total loss claims.

               D.      Guidebook Values

         51.        Other entities involved in the automobile business, such as new and used car

dealers, also banks and other lending institutions, have never used WCTL Reports as a basis for

determining a fair valuation or Actual Cash Value of used vehicles.

         52.        Such entities have historically used industry-recognized guidebooks as sources

for proper used vehicle valuation (“Guidebooks”). These Guidebooks include NADA, Kelly

Blue Book and Black Book. These Guidebooks are a proper source for determining Actual Cash

Value.

         53.        Historically, insurers also used Guidebooks for the purpose of determining

proper valuations of total loss vehicles and Actual Cash Value. Indeed, many insurers continue

to use the Guidebooks to determine Actual Cash Value when determining whether a vehicle can

be repaired or must be declared a total loss.

         54.        For example, insurers typically declare a vehicle to be a total loss if the estimated

repair costs exceed either the value of the vehicle or a percentage, such as 80%, of the pre-loss

vehicle valuation.

         55.        It is typically in the insurer’s best interest to establish a higher value of the

vehicle for this purpose, so that the cost of repair is a smaller percentage of the pre-crash vehicle

valuation.


                                                     10
    Case 4:20-cv-00536 Document 1-3 Filed on 02/17/20 in TXSD Page 12 of 39



        56.        However, a number of years ago insurers including Progressive determined that

they could save substantial amounts of money by using third-party valuations prepared by either

J.D. Power/Mitchell or another third-party valuation company, CCC Information Services

(“CCC”).

        57.        Accordingly, in the last twenty years, many insurers have adopted the regular

practice of using WCTL or CCC valuations of total loss vehicles and disregarding the

historically recognized Guidebooks as a source of valuation, to improperly save millions of

dollars in adjusting total loss claims.

        58.        The WCTL Reports are not used or recognized by any other “player” in the

automobile industry, including dealers and lending institutions.

              E.      Progressive Has Waived and is Estopped to Assert the Appraisal
                      Provision

        59.        Progressive’s Preexisting Appraisal Scheme: During the relevant period of time,

Progressive had, and continues to have, a standard practice of refusing to negotiate the Base

Value and “Market Value” as reflected in the WCTL Reports unless the WCTL Report has, for

example, omitted an option. Specifically, Progressive has a regular practice of refusing to

negotiate in good faith with respect to comparable vehicles, mileage adjustments for comparable

vehicles, condition adjustments to the specific total loss vehicle, or comparable vehicle condition

adjustments. Specifically, Progressive typically and routinely will not negotiate either the Base

Vehicle Value or Market Values of total loss vehicles.




                                                  11
    Case 4:20-cv-00536 Document 1-3 Filed on 02/17/20 in TXSD Page 13 of 39



            60.   Progressive knows that its insureds typically have no practical choice other than

to accept the total loss payment offered by Progressive simply because the insured needs those

monies to purchase a replacement vehicle.

            61.   Further, an insured cannot wait on the appraisal process. Progressive also has a

regular practice of threatening to withdraw its offer to pay a total loss if the insured requests an

appraisal. An appraisal process, including selection of an umpire, may take forty-five (45) days

or more.

            62.   Progressive’s threat to withdraw its offer, combined with delay and expense to

the insured of an appraisal, as explained below, present bad faith obstacles to a fair appraisal.

Progressive simply “stands pat” unless it is sued.

            63.   Progressive knows that if it insists on “standing” on the WCTL Valuation, the

great majority of insureds will simply capitulate and take the Progressive total loss payment.

            64.   Progressive also had, and continues to have, a regular practice that it does not

demand an appraisal unless and until an insured files a lawsuit. Progressive does not include the

appraisal provision in its policies for the appropriate purpose of a cheap and efficient resolution,

on a timely basis, of disputed first-party total loss claims. As stated, even where there is a clear

and material dispute with an insured, Progressive does not demand an appraisal unless a lawsuit

is filed.

            65.   Prejudice to Plaintiff Mian and Other Insureds: Progressive’s scheme to not

invoke the appraisal process unless and until there is litigation materially prejudices Progressive

insureds, including Plaintiff and the Texas Class, in several material ways.




                                                 12
    Case 4:20-cv-00536 Document 1-3 Filed on 02/17/20 in TXSD Page 14 of 39



        66.     First, Progressive typically sells the salvaged total loss vehicle to one of two

companies, Copart or IAA. These companies pay a salvage value to Progressive and then market

salvaged parts from total loss vehicles. The total loss vehicle is typically sold by Progressive and

salvaged for spare parts in thirty (30) to forty-five (45) days after the total loss occurs.

        67.     Progressive has actual knowledge that if an insured disputes Progressive’s total

loss payment but does not demand an appraisal, the total loss vehicle will be unavailable for

inspection and appraisal after such salvage. Thus, Progressive knows that if it does not request

an appraisal for months or even years, and then does so only if and when litigation is filed

against Progressive, the total loss vehicle will be unavailable for physical inspection and

appraisal. Consistent with Progressive’s practice, Plaintiff’s Vehicle was salvaged and is not

available for an inspection.

        68.     Progressive    also   knows    that    industry-recognized    information      regarding

comparable used vehicles listed for sale at the time of a loss from sources such as AutoTrader

and Cars.com is no longer current after about ninety (90) days.

        69.     The only possible appraisal after the vehicle has been salvaged is what is known

in the industry as a “desktop” appraisal, which is based upon the limited information available a

year or two years after the total loss.

        70.     The prejudice to insureds such as Plaintiff is clearly illustrated by the information

regarding the “vehicle condition,” which is listed in WCTL Reports. See Exhibit B at 4.

Consistent with its standard practice, the WCTL Reports list purported “component condition”

for “interior” (including headliner, glass, dash/console, seats and carpet), “exterior” (including




                                                  13
    Case 4:20-cv-00536 Document 1-3 Filed on 02/17/20 in TXSD Page 15 of 39



body vinyl/convertible top, trim and paint), “mechanical” (including engine and transmission)

and “tires.”

          71.   When the vehicle is unavailable at the time that Progressive demands an

appraisal, it is impossible to fairly review the actual condition of each of the listed “component”

conditions based upon an inspection. Thus, Plaintiff has been deprived of the right to proper

inspection-based appraisal as a result of Progressive’s delay and the salvage of his vehicle.

          72.   Cost as a Deterrent to an Appraisal: In addition, the appraisal provision in the

Policy requires that the insured pay for the cost of an appraiser and share the expense of a third-

party umpire. This provision is intended by Progressive to be and is, in fact, a significant and

improper deterrent to insureds such as Plaintiff with regard to invoking the appraisal provision.

This is because the cost to Plaintiff for an in-person inspection by an appraiser, plus the fees and

expenses of a third-party umpire, may well exceed $1,000.

          73.   For all these reasons, based upon its pre-existing scheme regarding untimely

utilization of the appraisal provision and the clear prejudice to insureds such as Plaintiff,

Progressive has waived and is estopped from invoking the appraisal provision in the Mian

Policy.

                                    CLASS ALLEGATIONS

          74.   Plaintiff brings this class action individually and on behalf of all others similarly

situated, for all claims alleged herein, pursuant to TEX. R. CIV. PRO. 42. All persons and entities

that have made first-party claims since November 15, 2015 under an automobile insurance policy

issued within the state of Texas by Progressive whose vehicles were declared a total loss by




                                                 14
    Case 4:20-cv-00536 Document 1-3 Filed on 02/17/20 in TXSD Page 16 of 39



Progressive and were valued using the WCTL total loss valuation system should be included

within this Texas Class.

       75.     Progressive, J.D. Power, Mitchell, all related entities, subsidiaries or affiliates of

said Defendants, any entity in which said Defendants have a controlling interest, and any and all

of said Defendants' employees, affiliates, legal representatives, heirs, successors, or assignees

should be excluded from the Texas Class..

       76.     Also, any person or entity that has previously commenced and resolved a lawsuit

against said Defendants arising out of the subject matter of this lawsuit should be excluded from

the Texas Class.

       77.     Plaintiff also excludes from the Texas Class the Judge assigned to this case and

any member of the Judge's immediate family.

       78.     The Condition Adjustment Subclass: One subclass consists of Texas insureds

whose total loss claims were reduced by negative or downward Condition Adjustments (the

“Texas Condition Adjustment Subclass”).

       79.     The Base Value Subclass: A second subclass consists of all Texas insureds whose

vehicles received WCTL Reports with Market Values which were less than Actual Cash Value

as established by Guidebooks (“the Texas Market Value Subclass”).

       80.     Numerosity: The Texas Class is so numerous that joinder of all affected persons

would be impracticable. Although the exact number of Texas Class members is unknown to

Plaintiff, the Texas Class is estimated to comprise many thousands of people who have sustained

total losses to their vehicles while insured by Progressive.




                                                 15
    Case 4:20-cv-00536 Document 1-3 Filed on 02/17/20 in TXSD Page 17 of 39



       81.     Commonality: Numerous questions of law and fact are common to Plaintiff and

the Texas Class and predominate over any individual questions. These legal and factual

questions include, but are not limited to:

               a)      Whether Progressive failed to properly investigate and determine that

       WCTL Valuations are statistically invalid;

               b)      Whether Progressive had actual knowledge that WCTL Valuations are

       statistically invalid;

               c)      Whether Texas law required Progressive to pay Actual Cash Value to its

       Texas insureds;

               d)      Whether Progressive’s Policy required it to pay Actual Cash Value to its

       Texas insureds.

               e)      Whether Progressive breached its contracts of insurance with its Texas

       insureds by improperly underpaying total loss claims through the use of statistically

       invalid J.D. Power/Mitchell WCTL Valuations;

               f)      Whether Progressive failed to pay Actual Cash Value to its Texas

       insureds;

               g)      Whether WCTL Valuations properly calculate the Actual Cash Value of

       total loss vehicles at the time of the loss;

               h)      Whether Progressive has intentionally and systemically underpaid total

       loss claims to Plaintiff and the Texas Class by using statistically invalid WCTL

       Valuations;

               i)      Whether Plaintiff and the Texas Class have sustained damages;




                                                  16
    Case 4:20-cv-00536 Document 1-3 Filed on 02/17/20 in TXSD Page 18 of 39



                 j)     Whether Defendants have been unjustly enriched as a result of the scheme

       described herein; and,

                 k)     Whether Progressive, J.D. Power and Mitchell have conspired, as alleged

       herein.

       82.       Typicality: Plaintiff’s claims are typical of the claims of the Texas Class

members, as Plaintiff and all members of the Texas Class have suffered damages as a result of

Defendants' unlawful and deceptive scheme of settling total loss vehicle claims for substantially

less than the actual replacement costs of such vehicles. Specifically, the total loss claims of the

Texas Class members were adjusted by Progressive based upon WCTL Valuations. The same

discovery and evidence that would be used to support Plaintiff’s claims will be used to support

the claims of the members of the Texas Class.

       83.       Adequacy of Representation: Plaintiff will fully and adequately represent and

protect the interests of the Texas Class members because they share common injuries as a result

of Defendants' conduct that is applicable to all members of the Texas Class. Plaintiff has retained

counsel with substantial experience in prosecuting consumer class actions. Plaintiff and counsel

are committed to prosecuting this action vigorously on behalf of the Texas Class and have the

financial resources to do so. Neither Plaintiff nor his counsel have any interests that are contrary

to or in conflict with those of the Texas Class they seek to represent.

       84.       Predominance and Superiority: This action is properly maintained as a class

action because questions of law and fact common to Plaintiff’s claims and the claims of the

members of the Texas Class predominate over questions of law and fact affecting only individual

members of the Texas Class, such that a class action is superior to other methods for the fair and



                                                 17
    Case 4:20-cv-00536 Document 1-3 Filed on 02/17/20 in TXSD Page 19 of 39



efficient adjudication of this controversy. The issues in relation to Plaintiff’s claims are similar to

the issues relating to the claims of the other members of the Texas Class, such that a class action

provides a far more efficient method to resolve the claims rather than a myriad of separate

lawsuits. Indeed, for most Texas Class members, a class action is the only mechanism by which

they could reasonably expect to vindicate their rights. Certification of the Texas Class is also

supported by the following considerations:

               a)        The relatively small amount of damages that members of the Texas Class

       have suffered on an individual basis would not justify the prosecution of separate

       lawsuits;

               b)        Counsel in this class action are not aware of any other earlier litigation

       against Defendants to which any other members of the Texas Class are a party and in

       which any question of law or fact controverted in the subject action has been or is to be

       adjudicated;

               c)        By virtue of Defendants' efforts to conceal their scheme, many Texas

       Class members may not even be aware that they have a claim;

               d)        The prosecution of separate actions by individual members of the Texas

       Class would create a risk of inconsistent and varying adjudications concerning the subject

       of this action;

               e)        Class treatment of predominating common questions of law and fact is

       superior to multiple individual actions because it would conserve the resources of the

       courts and the litigants and would further the efficient adjudication of Texas Class

       member claims; and




                                                  18
    Case 4:20-cv-00536 Document 1-3 Filed on 02/17/20 in TXSD Page 20 of 39



               f)      Plaintiff knows of no difficulty to be encountered in the management of

       this action that would preclude its maintenance as a class action.

                    DAMAGES CALCULATIONS FOR THE TEXAS CLASS

       85.     Calculation of damages for the Texas Class is readily manageable. Progressive

maintains specific information in its electronic database relating to first-party total loss claims

identifying each claim in the amount of any negative or downward Condition Adjustment on

each such claim.

       86.     In addition, Progressive maintains aggregate data on the total amount of negative

or downward Condition Adjustments in Texas (and other states) on an annual basis.

       87.     Accordingly, when the Texas Class establishes that all the Progressive negative

or downward Condition Adjustments are statistically invalid, then each member of the Texas

Class will be entitled to a refund in the full amount of any such Condition Adjustment. As stated,

that amount can be readily determined on an individual basis for each Progressive first-party

insured as well as on an aggregate basis.

       88.     All the damages claimed in this action on a class-wide basis are readily and easily

ascertainable from the Progressive electronic database relating to its Texas total loss claims.

       89.     Defendants have acted, or refused to act, in a manner that applies generally to the

Texas Class, such that final injunctive relief is appropriate as to the Texas Class as a whole.

                       Count I – Breach of Contract Against Progressive

       90.     Plaintiff incorporates by reference the allegations in Paragraphs 1 through 89 as

though fully set forth herein.

       91.     The Progressive Policy issued to Plaintiff constitutes a valid and binding contract.



                                                 19
    Case 4:20-cv-00536 Document 1-3 Filed on 02/17/20 in TXSD Page 21 of 39



       92.     Progressive has breached its Policy with Plaintiff in multiple ways, resulting in

the material underpayment of Plaintiff’s total loss claims, which include, but are not limited to:

(a) failure to properly investigate and confirm the statistical validity of the WCTL Methodology;

(b) improper delegation of its obligation to value total loss vehicles, including Plaintiff’s

Vehicle, to J.D. Power and Mitchell; and (c) wrongful failure to properly adjust and pay the

amounts due and owed to Plaintiff for his total loss vehicle sufficient for Plaintiff to obtain a

comparable replacement vehicle.

       93.     Specifically, Progressive has failed to pay the Actual Cash Value as required by

its Policy to Plaintiff and to Texas Class members.

       94.     Progressive’s breach proximately caused Plaintiff’s actual damages and the actual

damages of the Texas Class. Thus, Progressive is liable for compensatory, consequential and

incidental damages flowing from its breach of the Policy, as well as attorneys’ fees and interest.

       95.     This claim applies to all Texas Class members.

                                    Count II - Bad Faith
                               (Against Defendant Progressive)

       96.     Plaintiff incorporates by reference the allegations in Paragraphs 1 through 89

as though fully set forth herein.

       97.     The Progressive Policies obligated Progressive to properly and reasonably

investigate the fair value of the total losses sustained by each such policyholder, including

Plaintiff, and then pay that amount in a timely manner. The Progressive Policies also obligated

Progressive to act in good faith and to deal fairly with Plaintiff in handling and adjusting his total

loss claim.



                                                 20
    Case 4:20-cv-00536 Document 1-3 Filed on 02/17/20 in TXSD Page 22 of 39



        98.      Instead of properly investigating and paying Plaintiff’s total loss claim,

Progressive contracted with J.D. Power and Mitchell and utilized the WCTL Valuations for

the wrongful and bad faith purpose of intentionally and improperly reducing total loss

payments to Plaintiff and the Texas Class, in an improper attempt to save money at the

expense of Progressive insureds, including Plaintiff and the Texas Class.

        99.      Progressive has actual knowledge that the WCTL Valuation Methodology is

statistically invalid.

        100.     Progressive's conduct in "low balling" Plaintiff’s claim, intentionally

undervaluing Plaintiff’s claim, and withholding the full value of that claim, is unreasonable

and unjustifiable under the circumstances, and constitutes bad faith under Texas law.

        101.     Progressive has acted in bad faith in adjusting Plaintiff’s claim and the total

loss claims of Texas Class members in a systemic and uniform manner by making

statistically invalid downward Condition Adjustments based upon WCTL Valuations.

        102.     Plaintiff has suffered damages as a direct and proximate result of such

unreasonable, bad faith conduct on the part of Progressive and is, therefore, entitled to recover

compensatory and punitive damages, as well as any other such damages, costs or attorneys' fees

Plaintiff may be entitled under Texas law.

        103.     This claim applies to all Texas Class members.

               Count III - Tortious Interference with Performance of a Contract
                        (Against Defendants J.D. Power and Mitchell)

        104.     Plaintiff incorporates by reference the allegations in Paragraphs 1 through 89 as

though fully set forth herein.



                                                21
    Case 4:20-cv-00536 Document 1-3 Filed on 02/17/20 in TXSD Page 23 of 39



       105.   The Progressive Policies obligated Progressive to properly investigate the

value of Plaintiff's total loss claim using a fair and statistically valid valuation system or

methodology, and then to properly pay Plaintiff the appropriate value of his total loss.

       106.   At all times relevant hereto, and based on Mitchell’s contract with Progressive

to provide WCTL Reports, J.D. Power and Mitchell knew that Progressive entered into such

Policies with its insureds and that the Progressive Policies obligated Progressive to promptly

and properly pay total loss claims.

       107.   J.D. Power and Mitchell had actual knowledge of the identity of Plaintiff and

each Texas Class member as Progressive insureds. This knowledge is demonstrated by the

fact that J.D. Power and Mitchell prepared the Plaintiff’s WCTL Report, which specifically

identified Plaintiff and valued Plaintiff's Vehicle. The same is true for the WCTL Reports of

the other Texas Class Members.

       108.   J.D. Power and Mitchell had actual knowledge that Progressive used the

WCTL Valuations to adjust the total loss claims of Plaintiff and the Texas Class members.

       109.   J.D. Power and Mitchell also had actual knowledge that Progressive typically

would refuse to increase total loss valuations beyond the WCTL Valuations and that

Progressive settled the substantial majority of its total loss claims based upon WCTL

Valuations provided by J.D. Power and Mitchell.

       110.   J.D. Power and Mitchell wrongfully interfered with Progressive’s contractual

obligations to Plaintiff by knowingly and intentionally selling to Progressive a statistically

invalid and wholly arbitrary total loss valuation product for the specific purpose of enabling

Progressive to underpay the claims of total loss insureds, including Plaintiff.


                                               22
    Case 4:20-cv-00536 Document 1-3 Filed on 02/17/20 in TXSD Page 24 of 39



       111.   Progressive’s breaches that were caused by J.D. Power and Mitchell's

unjustified, intentional and malicious interference with Plaintiff's contractual rights under

the Mian Policy include:

              (a)   failing to properly value Plaintiff's total loss;

              (b)   using arbitrary and statistically invalid methodology to value Plaintiff's

                    total loss claim; and

              (c)   causing Progressive to fail to pay the proper amount due and owed to

                    Plaintiff.

       112.   Plaintiff suffered damages as a proximate result of J.D. Power and

Mitchell's improper WCTL Valuations and resulting tortious interference with the

contractual relationship between Progressive and Plaintiff and the Texas Class.

Therefore, Plaintiff is entitled to recover compensatory and punitive damages, as well as

any other such damages, costs or attorneys' fees to which he may be entitled under

Texas law.

       113.   This claim applies to all Texas Class Members.

     Count IV - Breach of Contract Arising from Plaintiff’s Status as Third-Party
      Beneficiary of the Agreement between J.D. Power/Mitchell and Progressive
                     (Against Defendants J.D. Power and Mitchell)

       114.   Plaintiff incorporates by reference the allegations in Paragraphs 1 through 89 as

though fully set forth herein.

       115.   At all times relevant hereto, Mitchell, through its joint venture with J.D.

Power, contracted to provide Progressive with total loss valuations (the "Agreement"). The

intended purpose of this Agreement was to outsource Progressive’s valuation of total loss



                                                23
    Case 4:20-cv-00536 Document 1-3 Filed on 02/17/20 in TXSD Page 25 of 39



claims for the purpose of satisfying the obligations of Progressive to value and pay total loss

claims.

       116.   As insureds for whom valuations were prepared under this Agreement,

Plaintiff and the Texas Class are intended beneficiaries of the Agreement between

Progressive and Mitchell, and are entitled to sue for breach of that Agreement.

       117.   Plaintiff alleges that J.D. Power and Mitchell breached this Agreement by

providing Progressive with total loss valuations that were not statistically valid and were

wholly arbitrary in the manner in which Progressive valued total losses, including Plaintiff’s

total loss. The improper WCTL Valuations were supplied to Progressive by Mitchell in the

course of business for the purported direct benefit of Plaintiff and the Texas Class.

       118.   Mitchell's breach of its Agreement to provide valid total loss valuations to

Progressive proximately caused damage to Plaintiff. Mitchell is, therefore, liable to Plaintiff

and the Texas Class as intended third-party beneficiaries for compensatory and

consequential damages flowing from said breaches.

       119.   J.D. Power is likewise liable for Mitchell's breach of its Agreement with

Progressive based upon its actual involvement with the WCTL Methodology and its

partnership with Mitchell.

       120.   This claim applies to all Texas Class members.

                             Count V - Civil Conspiracy
              (Against Defendants Progressive, J.D. Power and Mitchell)

       121.   Plaintiff incorporates by reference the allegations in Paragraphs 1 through 89 as

though fully set forth herein.



                                              24
    Case 4:20-cv-00536 Document 1-3 Filed on 02/17/20 in TXSD Page 26 of 39



       122.   J.D. Power, Mitchell and Progressive entered into an illicit agreement and

conspiracy to utilize WCTL Valuations to provide improper total loss valuations.

Specifically, Progressive and Mitchell conspired to underpay Plaintiff and the Texas Class

by using WCTL Valuations, which included the aforementioned statistically invalid Five

Steps (and sub-steps), which were not intended to calculate the fair value of total loss

vehicles, but rather to improperly undervalue total loss claims of Progressive insureds.

       123.   J.D. Power is a part of the conspiracy by reason of its partnership with

Mitchell and its participation with Mitchell in building the WCTL Valuations for use by

Progressive and other insurers. Mitchell's role in the conspiracy is evidenced by its

Agreement with Progressive and its partnership with J.D. Power.

       124.   Progressive is a part of the conspiracy by reason of having actual knowledge

that the WCTL Valuations provided through its partnership with J.D. Power and Mitchell

were statically invalid and continuing to utilize the WCTL Valuations when determining the

payment of Plaintiff and Texas Class members' total loss claims.

       125.   Progressive's conspiracy with J.D. Power and Mitchell to use the invalid

WCTL Valuation Methodology deprived Plaintiff and the Texas Class of the proper value of

their total losses. The overt acts emanating from Defendants' illicit agreement to so deprive

Plaintiff and the Texas Class include, but are not limited to, J.D. Power’s and Mitchell's

undervaluation of Plaintiff’s claim using WCTL Valuations, and Progressive’s failure to

properly investigate, adjust and pay such claim directly resulting from the WCTL

Valuations.




                                              25
   Case 4:20-cv-00536 Document 1-3 Filed on 02/17/20 in TXSD Page 27 of 39



       126.   Plaintiff and the Texas Class members have been damaged as a proximate

result of Defendants' illicit agreement and conspiracy. Therefore, J.D. Power, Mitchell and

Progressive are each liable for the torts of one another arising out of their conspiracy as

defined herein, and Plaintiff and the Texas Class members are entitled to recover

compensatory and punitive damages against Progressive, J.D. Power and Mitchell.

       127.   This claim applies to all Texas Class members.

                                 PRAYER FOR RELIEF

      WHEREFORE, Plaintiff, Basit Mian, respectfully requests that this Honorable

Court, for himself and all Texas Class members:

       A.     Certify the Texas Class alleged herein;

       B.     Appoint Plaintiff as the Texas Class Representative;

       C.     Appoint the undersigned as Texas Class Counsel;

       D.     Award Plaintiff and the Texas Class members actual damages in such amount

              as the Court or jury may determine;

       E.     Award declaratory and injunctive relief as permitted by law;

       F.     Award punitive damages as permitted by law;

       G.     Award reasonable attorneys' fees, expert fees, litigation expenses, and court

              costs to counsel based upon the benefit received by Plaintiff and the Texas

              Class; and

       H.     Award Plaintiff and the Texas Class members any additional relief as this

              Court deems just and proper, including injunctive relief to prohibit

              Progressive from continuing to utilize WCTL Valuations in Texas.




                                             26
   Case 4:20-cv-00536 Document 1-3 Filed on 02/17/20 in TXSD Page 28 of 39



                              DEMAND FOR JURY TRIAL

       Plaintiff demands a jury trial for all counts for which a trial by jury is permitted by

law.


                                            Respectfully submitted,


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                                               27
Case 4:20-cv-00536 Document 1-3 Filed on 02/17/20 in TXSD Page 29 of 39

                 2019-81932 / Court: 127
Case 4:20-cv-00536 Document 1-3 Filed on 02/17/20 in TXSD Page 30 of 39
Case 4:20-cv-00536 Document 1-3 Filed on 02/17/20 in TXSD Page 31 of 39

                 2019-81932 / Court: 127
Case 4:20-cv-00536 Document 1-3 Filed on 02/17/20 in TXSD Page 32 of 39
Case 4:20-cv-00536 Document 1-3 Filed on 02/17/20 in TXSD Page 33 of 39
Case 4:20-cv-00536 Document 1-3 Filed on 02/17/20 in TXSD Page 34 of 39
Case 4:20-cv-00536 Document 1-3 Filed on 02/17/20 in TXSD Page 35 of 39
Case 4:20-cv-00536 Document 1-3 Filed on 02/17/20 in TXSD Page 36 of 39
Case 4:20-cv-00536 Document 1-3 Filed on 02/17/20 in TXSD Page 37 of 39
Case 4:20-cv-00536 Document 1-3 Filed on 02/17/20 in TXSD Page 38 of 39
Case 4:20-cv-00536 Document 1-3 Filed on 02/17/20 in TXSD Page 39 of 39
